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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



 ELIZABETH CHAN, et al.,

                              Plaintiffs,
                   v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,
                                                  Case No. 1:23-cv-10365 (LJL)
                              Defendants.         Case No. 1:24-cv-01644 (LJL)


                                                  NOTICE OF CROSS MOTION FOR
                                                  SUMMARY JUDGMENT BY THE
                                                  METROPOLITAN TRANSPORTATION
 MICHAEL MULGREW, et al.,                         AUTHORITY, THE TRIBOROUGH
                                                  BRIDGE AND TUNNEL AUTHORITY,
                              Plaintiffs,         THE NEW YORK CITY DEPARTMENT
                   v.                             OF TRANSPORTATION, AND
                                                  WILLIAM J. CARRY
 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,

                              Defendants.



       PLEASE TAKE NOTICE that, upon (1) the accompanying Memorandum of Law in

Support of the Cross-Motion for Summary Judgment and Opposition to Plaintiffs’ Motions for

Summary Judgment and (2) the Administrative Record, Defendants the Metropolitan

Transportation Authority, the Triborough Bridge and Tunnel Authority, the New York City

Department of Transportation, and William J. Carry hereby move this Court for an order granting

summary judgment pursuant to Federal Rule of Civil Procedure 56.




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Dated: December 9, 2024                                  Respectfully submitted,


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 Department of Transportation and William J.
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